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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
  MARINA ISKHAKOVA, on behalf of herself and :
  all others similarly situated,                                         :
                                                                         :   Case No.: 1:22-cv-5186
                                 Plaintiffs,                             :
                                                                         :   CLASS ACTION COMPLAINT
                                 v.                                      :             AND
                                                                         :    DEMAND FOR JURY TRIAL
  VABSSS CORP.,                                                          :
                                                                         :
                                Defendant.                               :
                                                                         :
                                                                         :
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                                                  INTRODUCTION
  1.        Plaintiff MARINA ISKHAKOVA, on behalf of herself and others similarly

            situated, asserts the following claims against Defendant VABSSS CORP., as

            follows.

  2.        Plaintiff is a visually-impaired and legally blind person who requires screen-

            reading software to read website content using her computer. Plaintiff uses the

            terms “blind” or “visually-impaired” to refer to all people with visual impairments

            who meet the legal definition of blindness in that they have a visual acuity with

            correction of less than or equal to 20 x 200. Some blind people who meet this

            definition have limited vision. Others have no vision.

  3.        Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

            the United States are visually impaired, including 2.0 million who are blind, and

            according to the American Foundation for the Blind’s 2015 report, approximately

            400,000 visually impaired persons live in the State of New York.




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  4.    Plaintiff brings this civil rights action against Defendant for its failure to design,

        construct, maintain, and operate its website to be fully accessible to and

        independently usable by Plaintiff and other blind or visually-impaired people.

        Defendant’s denial of full and equal access to its website, and therefore denial of

        its goods and services offered thereby, is a violation of Plaintiff’s rights under the

        Americans with Disabilities Act (“ADA”).

  5.    Because Defendant’s website, www.saniasbrowbar.com (the “Website”), is not

        equally accessible to blind and visually impaired consumers, it violates the ADA.

        Plaintiff seeks a permanent injunction to cause a change in Defendant’s corporate

        policies, practices, and procedures so that Defendant’s website will become and

        remain accessible to blind and visually-impaired consumers.

                              JURISDICTION AND VENUE
  6.    This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

        and 42 U.S.C. § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42

        U.S.C. § 12182, et seq.

  7.    This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

        New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

        (“NYCHRL”) claims.

  8.    Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

        Defendant conducts and continues to conduct a substantial and significant amount

        of business in this District, and a substantial portion of the conduct complained of

        herein occurred in this District because Plaintiff attempted to utilize, on a number

        of occasions, the subject Website within this Judicial District.




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  9.    Defendant is subject to personal jurisdiction in this District. Defendant has been

        and is committing the acts or omissions alleged herein in the Eastern District of

        New York that caused injury and violated rights the ADA prescribes to Plaintiff

        and to other blind and other visually impaired-consumers. A substantial part of the

        acts and omissions giving rise to Plaintiff’s claims occurred in this District: on

        several separate occasions, Plaintiff has been denied the full use and enjoyment of

        the facilities, goods and services offered to the general public, on Defendant’s

        Website in Queens County. These access barriers that Plaintiff encountered have

        caused a denial of Plaintiff’s full and equal access multiple times in the past, and

        now deter Plaintiff on a regular basis from accessing the Defendant’s Website in

        the future.

  10.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

        and 2202.

                                      THE PARTIES
  11.   Plaintiff MARINA ISKHAKOVA, at all relevant times, is and was a resident of

        Queens County, New York.

  12.   Plaintiff is a blind, visually-impaired handicapped person and a member of a

        protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and

        the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., and

        NYCHRL.

  13.   Defendant is, and at all relevant times was, doing business in this jurisdiction.

  14.   Defendant’s Website, and its goods, and services offered thereupon, is a public

        accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

                                  NATURE OF ACTION


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  15.   The Internet has become a significant source of information, a portal, and a tool for

        conducting business, doing everyday activities such as shopping, learning, banking,

        researching, as well as many other activities for sighted, blind and visually-

        impaired persons alike.

  16.   In today’s tech-savvy world, blind and visually impaired people have the ability to

        access websites using keyboards in conjunction with screen access software that

        vocalizes the visual information found on a computer screen or displays the content

        on a refreshable Braille display. This technology is known as screen-reading

        software. Screen-reading software is currently the only method a blind or visually-

        impaired person may use to independently access the internet. Unless websites are

        designed to be read by screen-reading software, blind and visually-impaired

        persons are unable to fully access websites, and the information, products, goods

        and contained thereon.

  17.   Blind and visually-impaired users of Windows operating system-enabled

        computers and devices have several screen reading software programs available to

        them. Some of these programs are available for purchase and other programs are

        available without the user having to purchase the program separately. Job Access

        With Speech, otherwise known as “JAWS” is currently the most popular, separately

        purchased and downloaded screen-reading software program available for a

        Windows computer. Another popular screen-reading software program available

        for a Windows computer is NonVisual Desktop Access “NVDA”.

  18.   For screen-reading software to function, the information on a website must be

        capable of being rendered into text. If the website content is not capable of being




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        rendered into text, the blind or visually-impaired user is unable to access the same

        content available to sighted users.

  19.   The international website standards organization, the World Wide Web

        Consortium, known throughout the world as W3C, has published version 2.1 of the

        Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

        established guidelines for making websites accessible to blind and visually-

        impaired people. These guidelines are universally followed by most large business

        entities and government agencies to ensure their websites are accessible.

  20.   Non-compliant websites pose common access barriers to blind and visually-

        impaired persons. Common barriers encountered by blind and visually impaired

        persons include, but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and

               navigation;

               c.      Equivalent text is not provided when using scripts;

               d.      Forms with the same information and functionality as for sighted

               persons are not provided;

               e.      Information about the meaning and structure of content is not

               conveyed by more than the visual presentation of content;

               f.      Text cannot be resized without assistive technology up to 200%

               without losing content or functionality;

               g.      If the content enforces a time limit, the user is not able to extend,

               adjust or disable it;




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              h.      Web pages do not have titles that describe the topic or purpose;

              i.      The purpose of each link cannot be determined from the link text

              alone or from the link text and its programmatically determined link

              context;

              j.      One or more keyboard operable user interface lacks a mode of

              operation where the keyboard focus indicator is discernible;

              k.      The default human language of each web page cannot be

              programmatically determined;

              l.      When a component receives focus, it may initiate a change in

              context;

              m.      Changing the setting of a user interface component may

              automatically cause a change of context where the user has not been advised

              before using the component;

              n.      Labels or instructions are not provided when content requires user

              input, which include captcha prompts that require the user to verify that he

              or she is not a robot;

              o.      In content which is implemented by using markup languages,

              elements do not have complete start and end tags, elements are not nested

              according to their specifications, elements may contain duplicate attributes,

              and/or any IDs are not unique;

              p.      Inaccessible Portable Document Format (PDFs); and,

              q.      The name and role of all User Interface elements cannot be




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               programmatically determined; items that can be set by the user cannot be

               programmatically set; and/or notification of changes to these items is not

               available to user agents, including assistive technology.

                                 STATEMENT OF FACTS
  21.   Defendant is a company that owns and operates www.saniasbrowbar.com (its

        “Website”), offering features which should allow all consumers to access the goods

        and services and which Defendant ensures the delivery of such goods throughout

        the United States, including New York State.

  22.   Defendant’s Website offers products and services for online sale and general

        delivery to the public. The Website offers features which ought to allow users to

        browse for items, access navigation bar descriptions, inquire about pricing, and

        avail consumers of the ability to peruse the numerous items offered for sale.

  23.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

        without the assistance of screen-reading software. Plaintiff is, however, a proficient

        NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited the

        Website on separate occasions using a screen-reader.

  24.   On     multiple     occasions,     Plaintiff    visited     Defendant’s      website,

        www.saniasbrowbar.com, to make a purchase. Despite her efforts, however,

        Plaintiff was denied a shopping experience similar to that of a sighted individual

        due to the website’s lack of a variety of features and accommodations, which

        effectively barred Plaintiff from being able to determine what specific products

        were offered for sale.

  25.   Many features on the Website lacks alt. text, which is the invisible code

        embedded beneath a graphical image. As a result, Plaintiff was unable to


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        differentiate what products were on the screen due to the failure of the Website to

        adequately describe its content. Such issues were predominant in the section where

        Plaintiff was attempting, but was unsuccessful, in making a purchase.

  26.   Many features on the Website also fail to Add a label element or title attribute for

        each field. This is a problem for the visually impaired because the screen reader

        fails to communicate the purpose of the page element. It also leads to the user not

        being able to understand what he or she is expected to insert into the subject field.

        As a result, Plaintiff and similarly situated visually impaired users of Defendant’s

        Website are unable to enjoy the privileges and benefits of the Website equally to

        sighted users.

  27.   Many pages on the Website also contain the same title elements. This is a problem

        for the visually impaired because the screen reader fails to distinguish one page

        from another. In order to fix this problem, Defendant must change the title elements

        for each page.

  28.   The Website also contained a host of broken links, which is a hyperlink to a non-

        existent or empty webpage. For the visually impaired this is especially paralyzing

        due to the inability to navigate or otherwise determine where one is on the website

        once a broken link is encountered. For example, upon coming across a link of

        interest, Plaintiff was redirected to an error page. However, the screen-reader failed

        to communicate that the link was broken. As a result, Plaintiff could not get back

        to her original search.

  29.   These access barriers effectively denied Plaintiff the ability to use and enjoy

        Defendant’s website the same way sighted individuals do.




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  30.   Plaintiff intends to visit the Website in the near future if it is made accessible.

  31.   It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff,

        along with other blind or visually-impaired users, access to Defendant’s website,

        and to therefore specifically deny the goods and services that are offered to the

        general public. Due to Defendant’s failure and refusal to remove access barriers to

        its website, Plaintiff and visually-impaired persons have been and are still being

        denied equal access to Defendant’s Website, and the numerous goods and services

        and benefits offered to the public through the Website.

  32.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

        customers such as Plaintiff, who need screen-readers, cannot fully and equally use

        or enjoy the facilities, products, and services Defendant offers to the public on its

        website. The access barriers Plaintiff encountered have caused a denial of

        Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular

        basis from equal access to the Website.

  33.   If the Website were equally accessible to all, Plaintiff could independently navigate

        the Website and complete a desired transaction as sighted individuals do.

  34.   Through her attempts to use the Website, Plaintiff has actual knowledge of the

        access barriers that make these services inaccessible and independently unusable

        by blind and visually-impaired people.

  35.   Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff

        and other visually-impaired consumers with equal access to the Website, Plaintiff

        alleges that Defendant has engaged in acts of intentional discrimination, including

        but not limited to the following policies or practices:




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                  a.       Constructing and maintaining a website that is inaccessible to

                  visually-impaired individuals, including Plaintiff;

                  b.       Failure to construct and maintain a website that is sufficiently intuitive

                  so as to be equally accessible to visually impaired individuals, including

                  Plaintiff; and,

                  c.       Failing to take actions to correct these access barriers in the face of

                  substantial harm and discrimination to blind and visually-impaired

                  consumers, such as Plaintiff, as a member of a protected class.

   36.    Defendant therefore uses standards, criteria or methods of administration that have the

          effect of discriminating or perpetuating the discrimination of others, as alleged herein.

   37.    The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

          action. In relevant part, the ADA requires:

          In the case of violations of . . . this title, injunctive relief shall include an order to
          alter facilities to make such facilities readily accessible to and usable by individuals
          with disabilities . . . Where appropriate, injunctive relief shall also include requiring
          the . . . modification of a policy . . .

   42 U.S.C. § 12188(a)(2).

   38.    Because Defendant’s Website has never been equally accessible, and because

          Defendant lacks a corporate policy that is reasonably calculated to cause its Website

          to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

          seeks a permanent injunction requiring Defendant to retain a qualified consultant

          acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply

          with WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks that this

          permanent injunction requires Defendant to cooperate with the Agreed Upon

          Consultant to:



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                a.      Train Defendant’s employees and agents who develop the Website

                on accessibility compliance under the WCAG 2.1 guidelines;

                b.      Regularly check the accessibility of the Website under the WCAG

                2.1 guidelines;

                c.      Regularly test user accessibility by blind or vision-impaired persons

                to ensure that Defendant’s Website complies under the WCAG 2.1

                guidelines; and,

                d.      Develop an accessibility policy that is clearly disclosed on Defendant’s

                Websites, with contact information for users to report accessibility-related

                problems.

   39.   Although Defendant may currently have centralized policies regarding maintaining

         and operating its Website, Defendant lacks a plan and policy reasonably calculated

         to make them fully and equally accessible to, and independently usable by, blind

         and other visually-impaired consumers.

   40.   Defendant has, upon information and belief, invested substantial sums in

         developing and maintaining their Website and has generated significant revenue

         from the Website. These amounts are far greater than the associated cost of making

         their Website equally accessible to visually impaired customers.

   41.   Without injunctive relief, Plaintiff and other visually-impaired consumers will

         continue to be unable to independently use the Website, violating their rights.

                            CLASS ACTION ALLEGATIONS
   42.   Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a

         nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

         individuals in the United States who have attempted to access Defendant’s Website


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         and as a result have been denied access to the equal enjoyment of goods and services,

         during the relevant statutory period.

   43.   Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a New

         York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

         individuals in the City of New York who have attempted to access Defendant’s

         Website and as a result have been denied access to the equal enjoyment of goods and

         services offered, during the relevant statutory period.

   44.   Common questions of law and fact exist amongst the Class, including:

                a.         Whether Defendant’s Website is a “public accommodation” under

                the ADA;

                b.         Whether Defendant’s Website is a “place or provider of public

                accommodation” under the NYCHRL;

                c.         Whether Defendant’s Website denies the full and equal enjoyment

                of   its     products,   services,    facilities,   privileges,   advantages,   or

                accommodations to people with visual disabilities, violating the ADA; and

                d.         Whether Defendant’s Website denies the full and equal enjoyment

                of   its     products,   services,    facilities,   privileges,   advantages,   or

                accommodations to people with visual disabilities, violating the NYCHRL.

   45.   Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

         severely visually impaired or otherwise blind, and claim that Defendant has

         violated the ADA or NYCHRL by failing to update or remove access barriers on

         its Website so either can be independently accessible to the Class.




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   46.    Plaintiff will fairly and adequately represent and protect the interests of the Class

          Members because Plaintiff has retained and is represented by counsel competent

          and experienced in complex class action litigation, and because Plaintiff has no

          interests antagonistic to the Class Members. Class certification of the claims is

          appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused

          to act on grounds generally applicable to the Class, making appropriate both

          declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

   47.    Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

          fact and legal questions common to Class Members predominate over questions

          affecting only individual Class Members, and because a class action is superior to

          other available methods for the fair and efficient adjudication of this litigation.

   48.    Judicial economy will be served by maintaining this lawsuit as a class action in that

          it is likely to avoid the burden that would be otherwise placed upon the judicial

          system by the filing of numerous similar suits by people with visual disabilities

          throughout the United States.

                            FIRST CAUSE OF ACTION
                   VIOLATIONS OF THE ADA, 42 U.S.C. § 12182 et seq.
   49.    Plaintiff, on behalf of herself and the Class Members, repeats and realleges every

          allegation of the preceding paragraphs as if fully set forth herein.

   50.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

          No individual shall be discriminated against on the basis of disability in the full and
          equal enjoyment of the goods, services, facilities, privileges, advantages, or
          accommodations of any place of public accommodation by any person who owns,
          leases (or leases to), or operates a place of public accommodation.

   42 U.S.C. § 12182(a).




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   51.    Defendant’s Website is a public accommodation within the definition of Title III of

          the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

          general public, and as such, must be equally accessible to all potential consumers.

   52.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

          deny individuals with disabilities the opportunity to participate in or benefit from

          the products, services, facilities, privileges, advantages, or accommodations of an

          entity. 42 U.S.C. § 12182(b)(1)(A)(i).

   53.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

          deny individuals with disabilities an opportunity to participate in or benefit from

          the products, services, facilities, privileges, advantages, or accommodation, which

          is equal to the opportunities afforded to other individuals. 42 U.S.C. §

          12182(b)(1)(A)(ii).

   54.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

          includes, among other things:

          [A] failure to make reasonable modifications in policies, practices, or procedures,
          when such modifications are necessary to afford such goods, services, facilities,
          privileges, advantages, or accommodations to individuals with disabilities, unless
          the entity can demonstrate that making such modifications would fundamentally
          alter the nature of such goods, services, facilities, privileges, advantages or
          accommodations; and a failure to take such steps as may be necessary to ensure that
          no individual with a disability is excluded, denied services, segregated or otherwise
          treated differently than other individuals because of the absence of auxiliary aids
          and services, unless the entity can demonstrate that taking such steps would
          fundamentally alter the nature of the good, service, facility, privilege, advantage,
          or accommodation being offered or would result in an undue burden.

   42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

   55.    The acts alleged herein constitute violations of Title III of the ADA, and the

          regulations promulgated thereunder. Plaintiff, who is a member of a protected class




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         of persons under the ADA, has a physical disability that substantially limits the

         major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

         Furthermore, Plaintiff has been denied full and equal access to the Website, has not

         been provided services that are provided to other patrons who are not disabled, and

         has been provided services that are inferior to the services provided to non-disabled

         persons. Defendant has failed to take any prompt and equitable steps to remedy its

         discriminatory conduct. These violations are ongoing.

   56.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

         incorporated therein, Plaintiff, requests relief as set forth below.

                               SECOND CAUSE OF ACTION
                              VIOLATIONS OF THE NYCHRL
   57.   Plaintiff, on behalf of herself and the New York City Sub-Class Members, repeats

         and realleges every allegation of the preceding paragraphs as if fully set forth herein.

   58.   N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

         discriminatory practice for any person, being the owner, lessee, proprietor,

         manager, superintendent, agent or employee of any place or provider of public

         accommodation, because of . . . disability . . . directly or indirectly, to refuse,

         withhold from or deny to such person, any of the accommodations, advantages,

         facilities or privileges thereof.”

   59.   Defendant’s Website is a sales establishment and public accommodations within

         the definition of N.Y.C. Admin. Code § 8-102(9).

   60.   Defendant is subject to NYCHRL because it owns and operates its Website, making

         it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).




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   61.   Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

         update or remove access barriers to Website, causing its Website and the services

         integrated with such Website to be completely inaccessible to the blind. This

         inaccessibility denies blind patrons full and equal access to the facilities, products,

         and services that Defendant makes available to the non-disabled public.

   62.   Defendant is required to “make reasonable accommodation to the needs of persons

         with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

         from discriminating on the basis of disability shall make reasonable

         accommodation to enable a person with a disability to . . . enjoy the right or rights

         in question provided that the disability is known or should have been known by the

         covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

   63.   Defendant’s actions constitute willful intentional discrimination against the Sub-

         Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

         8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

                a.      constructed and maintained a website that is inaccessible to blind

                class members with knowledge of the discrimination; and/or

                b.      constructed and maintained a website that is sufficiently intuitive

                and/or obvious that is inaccessible to blind class members; and/or

                c.      failed to take actions to correct these access barriers in the face of

                substantial harm and discrimination to blind class members.

   64.   Defendant has failed to take any prompt and equitable steps to remedy their

         discriminatory conduct. These violations are ongoing.




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   65.   As such, Defendant discriminates, and will continue in the future to discriminate

         against Plaintiff and members of the proposed class and subclass on the basis of

         disability in the full and equal enjoyment of the products, services, facilities,

         privileges, advantages, accommodations and/or opportunities of its Website under

         § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

         Defendant from continuing to engage in these unlawful practices, Plaintiff and

         members of the class will continue to suffer irreparable harm.

   66.   Defendant’s actions were and are in violation of the NYCHRL and therefore

         Plaintiff invokes her right to injunctive relief to remedy the discrimination.

   67.   Plaintiff is also entitled to compensatory damages, as well as civil penalties and

         fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense

         as well as punitive damages pursuant to § 8-502.

   68.   Plaintiff is also entitled to reasonable attorneys’ fees and costs.

   69.   Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

         procedures, and rights set forth and incorporated therein Plaintiff prays for

         judgment as set forth below.

                                   THIRD CAUSE OF ACTION
                                    DECLARATORY RELIEF
   70.   Plaintiff, on behalf of herself and the Class and New York City Sub-Classes

         Members, repeats and realleges every allegation of the preceding paragraphs as if

         fully set forth herein.

   71.   An actual controversy has arisen and now exists between the parties in that Plaintiff

         contends, and is informed and believes that Defendant denies, that its Website

         contains access barriers denying blind customers the full and equal access to the



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         products, services and facilities of its Website, which Defendant owns, operates and

         controls, fails to comply with applicable laws including, but not limited to, Title III

         of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and N.Y.C.

         Admin. Code § 8-107, et seq. prohibiting discrimination against the blind.

   72.   A judicial declaration is necessary and appropriate at this time in order that each of

         the parties may know their respective rights and duties and act accordingly.

                                   PRAYER FOR RELIEF
         WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

                a.      A preliminary and permanent injunction to prohibit Defendant from

                violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

                N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

                b.      A preliminary and permanent injunction requiring Defendant to take

                all the steps necessary to make its Website fully compliant with the

                requirements set forth in the ADA, and its implementing regulations, so that

                the Website is readily accessible to and usable by blind individuals;

                c.      A declaration that Defendant owns, maintains and/or operates its

                Website in a manner that discriminates against the blind and which fails to

                provide access for persons with disabilities as required by Americans with

                Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code

                § 8-107, et seq., and the laws of New York

                d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

                23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

                and her attorneys as Class Counsel;

                e.      Compensatory damages in an amount to be determined by proof,


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                   including all applicable statutory and punitive damages and fines, to

                   Plaintiff and the proposed class and subclasses for violations of their civil

                   rights under New York City Human Rights Law and City Law;

                   f.      Pre- and post-judgment interest;

                   g.      An award of costs and expenses of this action together with

                   reasonable attorneys’ and expert fees; and

                   h.      Such other and further relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY
            Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

   of fact the Complaint raises.

   Dated:      Hackensack, New Jersey
               August 30, 2022

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